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                                                                                     FILED
                                           EXHIBIT 1                                 04-22-2021
                                                                                     Clerk of Circuit Court
                                                                                     Winnebago County, WI
                                 STATE OF WISCONSIN                                  2021CV000258
                        CIRCUIT COURT OF WINNEBAGO COUNTY                            Honorable Teresa S.
                                                                                     Basiliere
                                                                                     Branch 1
RENEE G. MOXON
351 W.6th Avenue
Oshkosh, WI 54902

               Plaintiff,

UNITEDHEALTHCARE OF WISCONSIN,INC.
W1030-1000 10701 W.Research Drive
PO Box 26649                                                        CASE NO.: 21 CV
Wauwatosa, WI 53226-0649,                                           Case Code: 30107
                                                                    Personal Injury — Other
STATE OF WISCONSIN DEPT.OF HEALTH SERVICES
1 W.Wilson Street
PO Box 309
Madison, WI 53701-0309

               Involuntary Plaintiffs,
VS.

WALMART,INC.
702SW 8th Street
Bentonville, AR 72716-0555,

NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH,PA
175 Water Street, 18th Floor
New York,NY 10038

               Defendants.


                                           COMPLAINT


        NOW COMES the above-named plaintiffby her attorneys, Gregory R. Wright Law Offices,

S.C., by Jenna N. Ashbeck, appearing in the limited scope set forth in the Notice of Limited

Appearance, and for her claims for relief alleges as follows:

                                             PARTIES

        1.     Plaintiff, Renee G. Moxon,is a single adult female who resides in Winnebago County



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at 351 W.6th Avenue, Oshkosh, Wisconsin 54902.

         2.     Involuntary    Plaintiff,   UnitedHealthcare   of   Wisconsin, Inc. (hereinafter

"UnitedHealthcare") was and is now a domestic insurance corporation having its principal place of

business located at W1030-1000 10701 W.Research Drive,Wauwatosa,Wisconsin,with a registered

agent ofCT Corporation System,301 South Bedford Drive, Suite 1, Madison, Wisconsin 53703.

         3.     Involuntary Plaintiff, State of Wisconsin Department of Health Services, is a

subdivision of the State of Wisconsin with its principal office located at 1 West Wilson Street,

Madison, Wisconsin.

         4.     Defendant, Walmart, Inc., was and is now a Delaware business corporation with its

principal place of business located at 702 SW 8th Street, Bentonville, Arkansas 72716-0555 and is

engaged in and authorized to transact business in the State of Wisconsin. Its registered agent for

Wisconsin is CT Corporation System,8040 Excelsior Dr., Suite 200, Madison, Wisconsin 53717.

         5.     Defendant, National Union Fire Insurance Company of Pittsburgh, PA,(hereinafter

"National Union Fire Ins.") was and is now a foreign insurance corporation having its principal place

of business located at 175 Water Street, 18th Floor, New York,New York 10038. Its registered agent

for Wisconsin is Corporation Service Company,8040 Excelsior Dr. Suite 400, Madison, Wisconsin

53717.

                                 DESCRIPTION OF INCIDENT

         6.     On or about April 26,2018, Renee G. Moxon was injured while grocery shopping at

Walmart Store #1430 located in Winnebago County at 351 S Washburn Street, Oshkosh, Wisconsin

54904. Shortly after turning into the condiment aisle, in or near aisle 10, Renee G. Moxon slipped

and fell on pickle juice that had not been properly cleaned up. Renee G. Moxon fell to the floor

resulting in injuries.




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                             FIRST CLAIM FOR RELIEF
                     NEGLIGENCE CLAIM AGAINST WALMART,INC.

       7.      Plaintiff hereby incorporates by reference each and every allegation of paragraphs 1

through 6 above.

       8.       Upon information and belief, Walmart Store #1430 was, at all times material herein,

owned, controlled and/or operated by Defendant, Walmart,Inc.

       9.      Defendant, Walmart,Inc.,in the presence ofone or more ofits employees,negligently

allowed the floor in the aisle near the pickles to become wet, slippery, hazardous, and unsafe for

frequenters of Walmart Store #1430.

        10.    Defendant, Walmart, Inc., its employees and agents were negligent:(1)in failing to

properly,adequately, and promptly clean up the spilled picklejuice in the subject aisle where Plaintiff,

Renee G. Moxon,fell;(2)in failing to warn patrons and frequenters ofthe unsafe condition by use of

signs, barricades or any other means;(3) in failing to properly inspect the area in question;(4) in

failing to properly train and supervise employees ofstore #1430 regarding maintaining safe floor and

work conditions; and(5) were otherwise careless and negligent.

       11.     The incident was proximately caused by the negligence of Defendant, Walmart,Inc.,

its agents and employees.

        12.    As a result of said incident, the plaintiff, Renee G. Moxon,suffered personal injuries

for which she required and received medical attention, and which caused pain and suffering.

       13.     As a result of said incident, the plaintiff, Renee G. Moxon, suffered past, present

and future pain and suffering, permanency, medical and other expenses, emotional distress,

mileage and future earnings capacity loss.




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                           SECOND CLAIM FOR RELIEF
                  SAFE PLACE VIOLATION AGAINST WALMART,INC.

        14.     Plaintiff hereby incorporates by reference each and every allegation of paragraphs

1 through 13 above.

        15.     Walmart Store #1430 is a place of employment as that is defined in Sec. 101.01,

Wis. Stats., and is therefore subject to the provisions of Sec. 101.11, Wisconsin's Safe Place Act.

        16.     Defendant, Walmart, Inc., was an employer as that term is defined in Sec. 101.01,

Wis. Stats., at the time ofPlaintiff Renee G. Moxon's slip and fall incident.

        17.    Plaintiff, Renee G. Moxon, at the time of her fall, was a frequenter at store #1430

as that term is defined in Sec. 101.01, Wis. Stats.

        18.     Upon information and belief, Defendant, Walmart, Inc., and its employees and

agents at Walmart Store #1430 had notice ofthe unsafe condition on the premises that resulted in

Plaintiff's fall and subsequent injuries.

        19.    The above-described damages were proximately caused by the failure of

Defendant, Walmart, Inc., its agents and employees to maintain the premises at Walmart Store

#1430 in as safe a condition as the nature thereofreasonably permitted, and in failing to do so, are

in violation of Wis. Stats., 101.11.

       20.     The above-described damages were proximately caused by the failure of

Defendant, Walmart, Inc., its agents and employees, to furnish a place ofemployment safe for the

frequenters thereof; to adopt and use methods and processes reasonably adequate to render such

place safe; to properly inspect and maintain the premises and aisles as safe as its nature would

reasonably permit; to properly train and supervise its employees and agents on keeping the floors

and work areas safe; and to do every other thing reasonably necessary to protect the life, health,

safety and welfare ofsuch frequenters; in violation of Wis. Stats., 101.11.




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                           THIRD CLAIM FOR RELIEF
               LIABILITY CLAIM AGAINST NATIONAL UNION FIRE INS.

       21.     Plaintiff hereby incorporates by reference each and every allegation of paragraphs

1 through 20 above.

       22.     Prior to April 26, 2018, National Union Fire Ins., for value, issued a policy of

insurance to Defendant, Walmart, Inc., insuring it, its agents and employees, against any liability

for damages sustained of any kind due to their negligence.

       23.     That the National Union Fire Ins, policy was in full force and effect on April 26,

2018 and under said policy as well as the laws of the State of Wisconsin, said insurance company

is liable to the plaintiff herein for the damages and injuries caused by the negligence of Defendant,

Walmart, Inc., its agents and employees.

                              FOURTH CLAIM FOR RELIEF
                             CLAIM OF UNITEDHEALTHCARE

       24.     Plaintiff hereby incorporates by reference each and every allegation of Paragraphs

1 through 23 above.

       25.     Involuntary Plaintiff, UnitedHealthcare, claims to have made certain payments for

medical expenses on behalf of plaintiff, Renee G. Moxon,regarding the accident described above

and for that reason, may possess an interest in and to the claim ofplaintiff, Renee G. Moxon,herein

as a subrogated party.

                        FIFTH CLAIM FOR RELIEF
     CLAIM OF STATE OF WISCONSIN DEPARTMENT OF HEALTH SERVICES

       26.     Plaintiff hereby incorporates by reference each and every allegation of paragraphs 1

through 25 above.

       27.     Involuntary Plaintiff, State of Wisconsin Department of Health Services, claims to

have made certain payments for medical expenses on behalf of the plaintiff, Renee G. Moxon,



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regarding the accident described above and for that reason, may possess an interest in and to the claim

ofplaintiff Renee G. Moxon,herein as a subrogated party.

        WHEREFORE,plaintiffprays for judgment as follows:

        A.     For compensatory damages for Renee G. Moxon's past, present and future pain and

suffering and emotional distress;

        B.     For compensatory damages for Renee G. Moxon's past and future medical and other

expenses, vocational impairment and mileage;

        C.     For an order declaring that the plaintiff's rights are superior to that ofany subrogated

party and extinguishing any subrogation lien asserted by any subrogated party associated with this

case.

        D.     For costs, disbursements and actual attorney's fees incurred in this action; and

        E.     For any other relief as this Court deems just and equitable under the circumstances.


             PLAINTIFF DEMANDS TRIAL BY JURY OF TWELVE PERSONS


               Dated this 22nd day ofApril, 2021

                                               GREGORY R. WRIGHT LAW OFFICES, S.C.
                                               Attorney for Plaintiff


                                               Electronically Signed by
                                               Jenna N. Ashbeck
                                               Jenna N. Ashbeck
                                               State Bar No. 1096111

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